Case 2:04-Cr-20251-BBD Document 36 Filed 07/29/05 Page 1 of 5 PagelD 35

uNlTED sTATEs olsTRlcT couRT Fn.Eo B\V.,__-__ o.c.
wEsTERN ols'rRlcT oF TENNEssEE
MEMPHls DlvisioN 05 JU'L 29 PH h= h9
uNlTED sTATEs oF AMERch THOMAS M. GOLH.D
Gm}g§. §§Wcam
-v- 2:04cR20251-01 -D W'J vi s ;\iLMPHiS

PATR|CK NEV|LLES
Needum Louis German lll FPD
Defense Attorney
200 Jefferson Ave., Ste. 200
‘ Memphis, TN 38103

 

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1981)

The defendant pleaded guilty to Count 1 of the indictment on April 12, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tiue a section NL__reof.Qm_ss Offense lem(§l
Concluded
18 U.S.C. § 922(g) Felon in Possession of a Firearm 10107/2003 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/ 17/ 1978 July 28, 2005
Deft’s U.S. Marshal No.: 19438-076

Defendant’s Mailing Address:
528 Bonair
Memphis, TN 38122

    

Thls document entered on the docket ! c !ia BERN|CE B` DONALD
with Hu\e 55 and,msg{b, gsch an . "°e uNiTED sTATEs DlsTRlcT JquE

July alj , 200

Case 2:04-cr-20251-BBD Document 36 Filed 07/29/05 Page 2 of 5 PagelD 36

Case No: 2:04CR20251-01 Defendant Name: Patrick NEV|LLES Page 2 of 4
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 72 Months.

The defendant is remanded to the custody of the United States Marshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment.
UN|TED STATES MARSHAL.
By:

 

Deputy U.S. Marshal

Case 2:04-cr-20251-BBD Document 36 Filed 07/29/05 Page 3 of 5 PagelD 37

Case No: 2:04CR20251-01 Defendant Name: Patricl< NEVlLLES Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearml ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation ocher and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation ofticer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer tan(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess. use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation ofhcer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofhcer;

Case 2:04-cr-20251-BBD Document 36 Filed 07/29/05 Page 4 of 5 PagelD 38

Case No: 2:04CR20251-01 Defendant Name: Patrick NEV|LLES Page 4 of 4

10. The defendant shall notify the probation ocher within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

The defendant shall participate in substance abuse testing and treatment programs as

directed by the Probation Officer;

The defendant shall cooperate with DNA collection as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ail of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00
The Special Assessment shall be due immediately

 

 

FlNE
No fine imposed.

RESTITUT|ON
No Restitution was ordered.

   

UNITED sATE DISTRICT COURT - WTERN DISRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CR-20251 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Jennifer Lavvrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

